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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

  CYNTHIA ANN PROPPS                          *             CIVIL NO. SAG-21-1744
     Plaintiff                                 *
                                               *
       Vs                                     *
                                              *
  BILLY EUGENE KIRKPATRICK
   Defendant                                  *


                                  ORDER OF DEFAULT


    It appearing from the records and/or affidavit of Plaintiff that the Complaint and

Summon was properly served upon the above named defendant on July 21, 2021; and

the time for said defendant to plead or otherwise defend expired on August 11, 2021, and

that said defendant has failed to plead or otherwise defend as directed in said Summon

and as provided by the Federal Rules of Civil Procedure.

Therefore, upon the request of the Plaintiff, and pursuant to Rule 55(a) of the Federal

Rules of Civil Procedure, it is ORDERED that the default for want of answer or other

defense by said defendant is entered this 13th day of September, 2021.


                                 CATHERINE STAVLAS, CLERK OF COURT

                           By:              /s/
                                 Martina Smith
                                   Deputy Clerk
